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                    IN THE DISTRICT COURT OF THE UNITED STATES

                        FOR THE DISTRICT OF SOUTH CAROLI NA

                                   GREENWOOD DIVISION

UNITED STATES OF AMERICA                     )          CR. NO.: 8:19-181
                                             )
       -vs-                                  )     MOTION FOR BILL OF PARTICULARS
                                             )
LAUREN BROOKE POORE,                         )

       Defendant, Lauren Brooke Poore, moves for a bill of particulars as to the Indictment in

the above-captioned case as follows:

                                                  I.

       For a full written response by the Government as to any and all alleged overt acts which it

intends to rely upon to prove the charges contained in the Indictment as relates to this Defendant,

as well as any co-defendants, whether charged or not.

                                                 II.

       For a full written disclosure amplifying the Government’s theory of this prosecution,

including any conspiratorial relationship that this Defendant may or may not have to any co-

defendant, charged or uncharged, whether such relationship be direct or indirect.

                                                 III.

       A written narrative by the Government fully explaining the factual details of the offense

charged so that the Defendant may more fully understand the theory of the prosecution.

       IT IS SO MOVED.




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                                                /s/ C. Carlyle Steele
                                                C. Carlyle Steele
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February 27, 2019
Greenville, South Carolina




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